











Opinion issued November 8, 2007
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-07-00599-CV




IN RE CELIOUS BARNER III, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By petition for writ of mandamus, relator, Celious Barner III, challenged the
trial court’s July 16, 2007, order for capias for his arrest.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus in Appellate Cause No. 01-07-00599-CV.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Bland.&nbsp;


